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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


                                               )
INVENERGY RENEWABLES LLC,                      )
                                               )
                        Plaintiff,             )
                and                            )
                                               )
SOLAR ENERGY INDUSTRIES                        )
ASSOCIATION, CLEARWAY ENERGY                   )
GROUP LLC, EDF RENEWABLES, INC., and           )
AES DISTRIBUTED ENERGY INC.,                   )
                                               )     Before: Judge Gary S. Katzmann
                        Plaintiff-Intervenors, )     Court No. 19-00192
                                               )
                v.                             )
                                               )
THE UNITED STATES, et al.,                     )
                                               )
                        Defendants.            )
                                               )
                                               )


PLAINTIFFS’ SUPPLEMENTAL REPLY IN SUPPORT OF MOTION FOR JUDGMENT
                  ON THE ADMINISTRATIVE RECORD
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       Plaintiffs Invenergy Renewables LLC and Plaintiff-Intervenors Clearway Energy Group

LLC, AES Distributed Energy Inc., EDF Renewables, Inc., and Solar Energy Industries

Association (“Plaintiffs”) respectfully submit this Supplemental Reply in support of their Motion

for Judgment on the Administrative Record and Supporting Memorandum, ECF No. 302

(“Opening Br.”), in order to address the new arguments raised in Defendants’ Corrected Response

to that Motion, ECF No. 316-1 (“Corrected Response”).

       In their Corrected Response, submitted two months after Plaintiffs pointed out that

Defendants’ original Response failed to address USTR’s authority to issue the April Withdrawal,

Defendants proffer several half-baked rebuttals to Plaintiffs’ argument that the April Withdrawal

violated both Proclamation 9693 and the safeguard statute. Defendants’ arguments fail to show

that the April Withdrawal is lawful. The Court should therefore set the April Withdrawal aside.

I.     USTR Lacked Delegated Authority to Withdraw the Exclusion.

       Plaintiffs explained in their opening brief that, in Proclamation 9693, President Trump did

not delegate to USTR the authority to withdraw exclusions. Opening Br. at 61. In response,

Defendants assert that Annex I, paragraph 18.d gives USTR the authority to “modify or terminate”

exclusions. Corrected Response at 54. The Court should reject this argument.

       Defendants’ invocation of Annex I as the source of USTR’s authority to withdraw the

Exclusion is impermissible post hoc rationalization by litigation counsel. See Burlington Truck

Lines, Inc. v. United States, 371 U.S. 156, 168 (1962) (“The courts may not accept . . . counsel’s

post hoc rationalizations for agency action[.]”). As Plaintiffs noted in their original Reply, see

ECF No. 312 at 5, neither the specific language cited by Defendants nor paragraph 18.d of Annex

I more generally are referenced by USTR in the April Withdrawal, or even in the unpublished

Gerrish Memo. See AR3458-59. The January Notice, which invited comments on whether to

withdraw the Exclusion, also does not reference Annex I at all. See 85 Fed. Reg. 4,756 (Jan. 27,
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2020). All of those documents refer only to the President’s delegation of authority to grant

exclusions in the main text of the Proclamation. The absence of any invocation of Annex I as

authority to withdraw the Exclusion is glaring, given that (a) parties commented that USTR lacked

authority to withdraw the Exclusion, (b) the Administrative Procedure Act (“APA”) requires that

proposed rules identify the legal authority for the proposed action, 5 U.S.C. § 553(b)(2), and (c)

the APA mandates that final rules include a statement of basis and purpose, 5 U.S.C. § 553(c).

Because USTR has never relied on Annex I as delegating it authority to withdraw an exclusion,

the Court should not now find such broad authority in that unlikely source.

       In any event, Defendants’ interpretation of Annex I of Proclamation 9693 is unreasonable.

Defendants rely on an altered fragment of a sentence from Annex I. See Corrected Response at 54

(quoting 83 Fed. Reg. 3,541, 3,547 (Jan. 23, 2018)). But the sentence as it actually appears in

Annex I does not include the term “exclusion determination” as Defendants suggest. Furthermore,

the full sentence provides that USTR is authorized “to specify, subsequent to the effective date

specified in this note, that such CSPV cells and modules will be considered ‘goods excluded from

the application of relief’ upon publication by the USTR of a notice in the Federal Register.” 83

Fed. Reg. at 3,547. This language suggests an intent to give USTR the power to modify the

HTSUS to reflect the grant of an exclusion, not the withdrawal. Similarly, the text of the

Proclamation itself specifically authorizes USTR to grant product exclusions and to modify the

HTSUS to reflect those exclusions, but does not even raise the possibility of USTR withdrawing

such exclusions.




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       In contrast, Proclamation 9693 explicitly gives USTR the authority to revise the list of

excluded developing countries, or to suspend the exclusion for developing countries entirely.1

Thus, President Trump plainly knew how to delegate to USTR the authority to withdraw or modify

an exclusion—but chose not to give USTR that authority over product-specific exclusions granted

pursuant to Proclamation 9693. To now interpret Annex I to allow USTR to withdraw product-

specific exclusions is inconsistent with the text of the Proclamation and its overall architecture.

See Reply at 6-7 (discussing text and structure of Proclamation). It is also inconsistent with the

broader statutory scheme that provides for safeguard measures to be progressively trade

liberalizing. See Opening Br. at 63, 65-67 (describing statutory scheme); King v. Burwell, 576

U.S. 473, 492-98 (2015) (declining to adopt interpretation of provision in statute that would

undermine broader statutory scheme).

       Furthermore, the procedures that USTR established pursuant to Proclamation 9693 to

govern the exclusion request process did not even hint that USTR had authority to withdraw

product exclusions, or that exclusions granted might be temporary.2 Nor did the notices granting

product exclusions.3 The absence of any reference to exclusions being temporary is notable, given

that USTR was explicit in this regard when granting exclusions from the Section 301 duties




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   83 Fed. Reg. at 3,543 (providing that if certain criteria are met, “the USTR is authorized, upon
publication of a notice in the Federal Register, to revise subdivision (b) of Note 18 in Annex I to
this proclamation to remove the relevant country from the list [of excluded developing countries]
or suspend operation of that subdivision [excluding developing countries], as appropriate”).
2
 See Procedures To Consider Additional Requests for Exclusion of Particular Products From the
Solar Products Safeguard Measure, 83 Fed. Reg. 6,670 (Feb. 14, 2018).
3
 See, e.g., Exclusion of Particular Products From the Solar Products Safeguard Measure, 83
Fed. Reg. 47,393 (Sept. 19, 2018); Exclusion of Particular Products From the Solar Products
Safeguard Measure, 84 Fed. Reg. 27,684 (June 13, 2019).


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imposed on Chinese products.4 The procedures established by the Department of Commerce for

exclusions from the Section 232 duties on steel and aluminum likewise were explicit in stating that

the exclusions were only temporary.5 USTR’s failure to state in the February 2018 Exclusion

Procedures, or in the notices announcing exclusions thereunder, that such exclusions might later

be withdrawn strongly indicates that USTR did not believe that it had been granted the authority

to withdraw exclusions by Proclamation 9693.

       Finally, even if Proclamation 9693 theoretically could be read as providing USTR authority

to withdraw exclusions, USTR was still required to publish any procedures for doing so within 30

days of the date of Proclamation 9693, see 83 Fed. Reg. at 3,543, as opposed to almost two years

later. Defendants’ assertion to the contrary (Corrected Response at 56) is inconsistent with the text

of Proclamation 9693, which broadly directs USTR to publish procedures for “requests for

exclusions”—meaning any exclusions that were not announced by President Trump in

Proclamation 9693 itself. In the Section 232 context, President Trump’s proclamations similarly




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   Procedures To Consider Requests for Exclusion of Particular Products From the
Determination of Action Pursuant to Section 301: China’s Acts, Policies, and Practices Related
to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 32,181, 32,182 (July
11, 2018) (“Any exclusion will be effective starting from the July 6, 2018 effective date of the
additional duties, and extend for one year after the publication of the exclusion determination in
the Federal Register.”); Procedures To Consider Requests for Exclusion of Particular Products
From the Additional Action Pursuant to Section 301: China’s Acts, Policies, and Practices
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(Sept. 18, 2018) (providing for exclusions lasting one year from date exclusion is published).
5
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Imports of Aluminum Into the United States; and the Filing of Objections to Submitted Exclusion
Requests for Steel and Aluminum, 83 Fed. Reg. 12,106, 12,111-12 (Mar. 19, 2018) (“Exclusions
will generally be approved for one year.”).


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directed the Secretary to “issue procedures for the requests for exclusion.”6 As noted above, those

procedures not only covered the process for parties to request an exclusion, but provided details

about how the entire exclusion process would be administered—and specifically stated that

exclusions would be only temporary.         Thus, “procedures for requests for exclusion” was

understood to mean the entirety of the exclusions process, not just initial requests for product

exclusions. Notably, USTR did not interpret the President’s directive in Proclamation 9693 as

being limited only to procedures for parties to make an initial exclusion request. Rather, USTR

also established a process for comments on the requests of other parties and indicated when

exclusions, if granted, would take effect. See 83 Fed. Reg. at 6,671-72. Again, USTR’s own

behavior indicates that, at least initially, it understood its obligation to set up a complete process

for any and all exclusions from the safeguard measure within 30 days of Proclamation 9693, as

opposed to setting up one process to grant exclusions within that timeframe and constructing a

separate process to consider withdrawing them two years later.

       Defendants’ interpretation of Proclamation 9693 is also inconsistent with the safeguard

statute’s directive that the President “shall by regulation provide for the efficient and fair

administration of all actions taken for the purpose of providing import relief under this part.”

19 U.S.C. § 2253(g)(1). Requiring USTR to inform interested parties how exclusions would be

administered—including whether product exclusions could be withdrawn—before parties

requested and relied on exclusions is in keeping with that requirement. Informing parties that an

exclusion that they had relied upon is actually subject to withdrawal at USTR’s discretion, based

on an entirely new list of factors, is not. Thus, USTR acted beyond both its delegated authority


6
 See Proclamation 9704 of March 8, 2018, Adjusting Imports of Aluminum Into the United
States, 83 Fed. Reg. 11,619, 11,621 (Mar. 15, 2018); Proclamation 9705 of March 8, 2018,
Adjusting Imports of Steel Into the United States, 83 Fed. Reg. 11,625, 11,627 (Mar. 15, 2018).


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under Proclamation 9693 and in a manner inconsistent with the safeguard statute when it withdrew

the bifacial panel Exclusion in April 2020.

II.    USTR Lacked Statutory Authority to Withdraw the Exclusion.

       In their Corrected Response, Defendants offer several arguments as to why the April

Withdrawal is consistent with the safeguard statute. Defendants’ arguments are unconvincing.

       A.      The April Withdrawal Violates Section 204 of the Trade Act.

       Plaintiffs demonstrated in their opening brief that the April Withdrawal was issued in

violation of the procedures for modifying a safeguard action set forth in Section 204 of the Trade

Act, and that the withdrawal of the Exclusion is not a permissible modification under the statute.

Opening Br. at 65-67. Defendants responded by asserting that Plaintiffs are wrong to suggest that

the safeguard statute does not allow modifications of a safeguard measure outside of the Section

204 process because that would mean that the original Exclusion was unlawful. Corrected

Response at 54. The legality of the original Exclusion has never been challenged, and thus the

Court has no reason to address Defendants’ contention.

       Furthermore, Defendants ignore that Proclamation 9693 specifically authorized the

issuance of product exclusions, and thus USTR’s grant of the bifacial Exclusion was a matter of

administration of the safeguard measure in its original form, not a modification of the measure.

There is no question that the bifacial panel Exclusion is consistent with Proclamation 9693, as it

was granted pursuant to the procedures issued directly thereunder, within the time specified by the

President. The withdrawal of the Exclusion, however, was not authorized by Proclamation 9693,

and thus is a modification of that action. Indeed, when President Trump issued Proclamation

10101, which withdrew the bifacial Exclusion, he described the withdrawal of the Exclusion as a




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“modification” of the solar safeguard measure.7 Had withdrawing the Exclusion been permitted

by the original safeguard measure, there would have been no need to “modify” the measure.

Because the April Withdrawal modified the safeguard measure, USTR was required to comply

with the procedures for modifying safeguard measures set forth by Congress in Section 204.

       As to the April Withdrawal’s consistency with the requirements of Section 204, Defendants

attack Plaintiffs’ argument that modifications under Section 204 cannot increase trade restrictions.

Corrected Response at 54-55. While, as discussed below, they fail to meaningfully rebut Plaintiffs’

arguments on that point, Defendants face an even more fundamental problem: they do not even

attempt to show that USTR followed the procedures set forth and made the findings required by

Section 204. Plaintiffs noted in their Opening Brief that the findings required by Section 204(b)

are absent from the April Withdrawal (and also from the Gerrish Memo), and that there was no

evidence that the procedural prerequisites to modifying a safeguard action (e.g., consultations with

Secretaries of Commerce and Labor) were met. See Opening Br. at 65. One can only assume that

Defendants did not address those arguments because they have no valid defense. Thus, regardless

of the types of modification that may be allowed under Section 204, USTR failed to follow the

procedures required to make any kind of modification, and the April Withdrawal should be vacated

on that basis alone.

       Turning to the issue that Defendants have at least tried to address—whether Section 204(b)

allows an increase in trade restrictions—Defendants assert that “[w]ithdrawal of an exclusion is

not an increase in the rate of duty for products subject to the safeguard measure” and that the April

Withdrawal “does not represent an increase in the rate of duties.” Corrected Response at 54.


7
 Proclamation 10101 of October 10, 2020, To Further Facilitate Positive Adjustment to
Competition From Imports of Certain Crystalline Silicon Photovoltaic Cells (Whether or Not
Partially or Fully Assembled Into Other Products), 85 Fed. Reg. 65,639, 65,640 (Oct. 16, 2020).


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Defendants’ argument misses the point. Plaintiffs did not argue that the safeguard statute prohibits

only an “increase in the rate of duties.” Plaintiffs argued that the statute does not allow an increase

in trade restrictions, and that the safeguard statute requires safeguard measures to be progressively

trade liberalizing. Opening Br. at 65-67. By expanding the scope of the products covered by the

safeguard measure, USTR increased trade restrictions, even if the safeguard duty rate for covered

products remained the same. Moreover, for bifacial panels, the April Withdrawal does result in an

increase in the duty rate, because those panels were previously allowed to enter the United States

free of safeguard duties.

       Defendants quibble with Plaintiffs’ view of Section 204(b)’s legislative history. See

Corrected Response at 54 (citing Opening Br. 66 n.16, which discussed H.R. Rep. No. 100-576).

But Defendants ignore Plaintiffs’ core arguments that the text of the safeguard statute, read as a

whole, and the Statement of Administrative Action to Accompany the Uruguay Round Agreements

Act all indicate that Congress intended for all modifications of safeguard measures under Section

204(b) to be trade-liberalizing. See Opening Br. at 65-67. Given Defendants’ failure to rebut those

arguments in its Corrected Response, the Court should find that the April Withdrawal is unlawful

because it increases restrictions on trade.

       B.      The April Withdrawal Violates Section 203 of the Trade Act.

       Plaintiffs have explained that the April Withdrawal violates Section 203(e)(7) of the Trade

Act by placing safeguard duties on bifacial panels less than two years after safeguard duties were

lifted on bifacial panels. Opening Br. at 67-68. And to the extent that Defendants view Section

203(a) as a potential source of authority, the April Withdrawal also violates that provision because

USTR failed to consider the factors enumerated in that provision and to conduct the overarching

cost-benefit analysis that provision requires. Opening Br. at 68-69.




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        With respect to Section 203(e)(7), Defendants argue that the Exclusion did not involve

termination of the safeguard action, because the President merely “excluded bifacial panels from

application of the additional duties under the ongoing safeguard measure, explicitly subject to

withdrawal of that exclusion.” Corrected Response at 55. But, as explained above, the grant of

the Exclusion was not “explicitly subject to withdrawal.” Furthermore, Defendants’ assertion is

inconsistent with the fact that, prior to the Exclusion, safeguard duties were applied to bifacial

panels, but no safeguard duties applied to those panels after the Exclusion. Defendants offer no

explanation as to why the lifting of those safeguard duties does not constitute a “termination” of

that action in regard to bifacial panels.8

        Regarding Section 203(a), Defendants allege that “plaintiffs merely contend that their

waived argument regarding social costs and benefits compels their preferred outcome,” and that

the President’s delegation of authority to USTR “did not require the Trade Representative to revisit

the President’s weighing of numerous ‘social’ and ‘economic’ factors.” Corrected Response at 55.

Defendants nowhere explain the basis for their claim that Plaintiffs somehow waived their

argument regarding economic and social costs and benefits, and the Court should reject that wholly

undeveloped argument. See United States. v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991) (“Judges

are not like pigs, hunting for truffles buried in briefs.”). As detailed in Plaintiffs’ prior briefs,

Plaintiffs and many other commenters argued that withdrawing the Exclusion would result in

major economic and social harms, which plainly outweigh the relatively minimal benefit of such

action to domestic solar manufacturers. See, e.g., Opening Br. at 40-48, 55-57. As to Defendants’



8
  In their Opening Brief (at 68 n.18), Plaintiffs noted that Defendants had previously claimed that
bifacial panels are not an “article” for purposes of Section 203(e)(7) and explained why such an
interpretation of Section 203(e)(7) would be unreasonable. Defendants have waived any rebuttal
to this argument by not raising it in their Corrected Response.


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argument that the President did not specifically require USTR to weigh costs and benefits in

administering the exclusion process, the President cannot authorize USTR to ignore statutory

requirements. See Reply at 15-17.

       Defendants further assert that “even if the Court were to reweigh the evidence . . . the

administrative record shows that the bifacial exclusion does, in fact, interfere with the domestic

industry’s ability to adjust to import competition.” Corrected Response 55. But, Plaintiffs’

argument is that USTR failed to perform the cost-benefit analysis required by the statute. Even if

the administrative record supported Defendants’ assertion that the Exclusion interferes with the

domestic industry’s ability to adjust to import competition, that is only one aspect of the required

statutory analysis. Defendants repeatedly focus on only one of the two principle statutory criteria

for safeguard measures, while ignoring the other: ensuring that the social and economic benefits

of the action outweigh its costs. USTR conducted no such analysis and made no such finding in

the April Withdrawal—and Defendants do not argue otherwise.

III.   USTR Lacked Inherent Authority to Withdraw the Exclusion.

       Having failed to rebut Plaintiffs’ argument that USTR lacked delegated and statutory

authority, Defendants argue that “agencies generally have inherent authority to reconsider

decisions.” Corrected Response at 55. Plaintiffs have explained, however, that there are important

limitations on an agency’s authority to reconsider prior decisions.         Opening Br. at 73-75

(discussing Tokyo Kikai Seisakusho, Ltd. v. United States, 529 F.3d 1352 (Fed. Cir. 2008)).

Defendants chose to attack a footnote in Plaintiffs’ brief rather than respond to that core argument.

See Corrected Response at 55-56. But even if the authority to reconsider is not limited to cases

involving fraud, see id., such authority cannot be exercised where doing so contravenes a statute;

where a statute provides a specific mechanism for reconsidering decisions; or where the

reconsideration is arbitrary and capricious. Opening Br. at 73-75. Those exceptions apply here.


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                                        CONCLUSION

       For the reasons set forth above and in Plaintiffs’ Opening Brief and prior Reply, USTR

lacked both statutory and delegated authority to issue the April Withdrawal, which should therefore

be set aside as unlawful.

                                                 Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

       The undersigned counsel at Akin Gump Strauss Hauer & Feld LLP hereby certifies that

Plaintiffs’ Supplemental Reply in Support of Motion for Judgment on the Administrative Record,

dated June 22, 2021, complies with the word-count limitation set forth in ¶ 2(B) of the Standard

Chambers Procedures of this Court, as amended on October 3, 2016. This submission contains

3,262 words according to the word-count function of the word-processing software used to prepare

the motion.

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Dated: June 22, 2021
